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                        EXHIBIT 40
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        LOGICAL LEGAL WAY                             EXHIBIT 40 - PAGE 1 OF 1                           MOTHER'S "LEGAL" WAY                  EXHIBIT 40

                                                                                                        FATHER RETURNS TO FRANCE MID
     FATHER RETURNS TO FRANCE MID
                                                                                                          SUMMER WITH CHILDREN PER
       SUMMER WITH CHILDREN PER
                                                                                                         FRENCH JUDGEMENT PROPER~
      FRENCH JUDGEMENT PROPER~
                                                                                                           REGISTERED IN OREGON TO
        REGISTERED IN OREGON TO
                                                                                                        PREPARE SCHOOL YEAR IN PARIS
     PREPARE SCHOOL YEAR IN PARIS

                     SFO Border Patrol let Father
                     leave US with children after          MOTHER AND HER COUNSELS               MOTHER ASKS JUDGE         MOTHER ASKS MEDFORD DA TO
                     looking at Status Quo order           PRESENTS FALSE DOCUMENT              ORR TO FORBID FATHER        PRESS CRIMINAL CHARGES
                      and the French Judgment             FROM JACKSON COUNTY COURT              TO PARTICIPATE NOR       AGAINST FATHER FOR ABDUCTION
                                                           TO FRENCH POLICE SAYING IT              HIS LAWYER TO
                                                           WAS A CRIMINAL ABDUCTION                REPRESENT HIM
                                                         NOTE: FATHER COULD PRESS CRIMINAL                GRANTED
    MOTHER BELIEVES IT'S AN ABDUCTION                  CHARGES AGAINST MOTHER AND MOTHER'S               BUT ILLEGAL
    AND THAT THE STATUS QUO WAS VALID                      COUNSELS FOR THAT, HE HASN'T             PER OREGON SUPREME
     AND THAT CHILDREN SHOULDN'T BE                                                                        COURT
  RESUMING SCHOOL IN FRANCE, SHE FILES              Father asked                                                            MOTHER ASKS FBI AND US GA
                                                                        MOTHER OBTAINS INVALIDATION OF FRENCH
  A HAGUE ACTION IN FRANCE, COST $5-1 Ok            to participate                                                          MERRICK GARLAND TO PRESS
                                                      remotely.       JUDGMENT SAYING THAT FRANCE DOESN'T HAVE
                                                                        UCCJEA ANALYSIS (LIKE 98% OF THE PLANET)            CRIMINAL CHARGES AGAINST
                                                       DENIED
                                                                                                                              FATHER FOR ABDUCTION
      DENIED
                                                                                                                    Father asked
                                                                      MOTHER ASKS FOR CONTEMPT CASE AND JUDGE
                                                                                                                    to participate
                                                                      ORR ISSUES A WARRANT FOR ARREST TO FATHER       remotely.
MOTHER CONTINUES HER        CHILDREN ARE BACK TO OREGON              FOR FAILURE TO APPEAR WHILE HE LIVES IN FRANCE    DENIED
    FRENCH CUSTODY           WITHIN A FEW WEEKS AND THE
   APPEAL PROCESS IN          OREGON COURT CONTINUES                                                                        MOTHER ASKS JUDGE ORR TO
 FRANCE ARGUING THAT        CUSTODY DETERMINATION ABOUT                 MOTHER OBTAINS CUSTODY OF CHILDREN IN              MAKE AND ORDER TO EXTRADITE
 OREGON SHOULD HAVE        THE CHILDREN IN JACKSON COUNTY            OREGON WITHOUT FATHER ALLOWED TO PARTICIPATE           FATHER AND CHILDREN FROM
    JURISDICTION OR                                                                                                                  FRANCE
                                            AND
   ARGUING THAT SHE
  SHOULD BE GRANTED        MOTHER CAN ALSO PRESS CRIMINAL             MOTHER ABDUCTS CHILDREN FROM                       NOTE: Cost+
    CUSTODY OF THE         CHARGES AGAINST FATHER BOTH IN                                                                 $150k,and
  CHILDREN IN OREGON            FRANCE AND IN THE US                  FRANCE IN MIDDLE OF SCHOOL YEAR                    French school
                             ON TOP OF THE HAGUE ACTION                 CRIMINALLY - HAGUE CASE IN US                     year ruined
